               Case 4:21-cr-06019-SAB             ECF No. 3          filed 05/12/21     PageID.4 Page 1 of 1


                                              CHARGES AND PENALTIES

        CASE NAME: _______________________________
                   Joey Jose Lopez                 CASE NO.                                  4:21-CR-6019-SAB-1
                                                                                            ______________________
                                                                                                              FILED IN THE
                                                                                                          U.S. DISTRICT COURT
                                                    ✔                                               EASTERN DISTRICT OF WASHINGTON
                                    1
                TOTAL # OF COUNTS: _______      _________FELONY      _________MISDEMEANOR    _________PETTY OFFENSE

                                                                                                    May 12, 2021
                                                                                                         SEAN F. MCAVOY, CLERK



Count            Statute                   Description of Offense                                     Penalty

                                                                            CAG NMT 10 years; $250,000 fine, or both;
        18 U.S.C. §§ 922(g)(1),                                             3 years supervised release; and a $100.00 special
  1                               Felon in Possession of a Firearm
        924(a)(2)                                                           assessment.


        18 U.S.C. § 924 and
                                  Forfeiture Allegations
        28 U.S.C. § 2461
